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                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                CRIMINAL NO. 19-233

VERSUS                                                  SECTION "T" (1)

WESLEY T. BISHOP                                        VIOLATIONS:
                                                        18 USC § 1001(a)(3)



                                  NOTICE OF ARRAIGNMENT


Take notice that this criminal case has been set for December 2, 2019, at 2:00 P.M. before U.S.

Magistrate Judge Dana M. Douglas, Federal Courthouse Building, 500 Poydras Street, Courtroom

B-305, New Orleans, LA 70130.

    IMPORTANT NOTE: PHOTO I.D. IS REQUIRED TO ENTER THE BUILDING
PERSONS ON BOND MUST REPORT TO THE DEPUTY U.S. MARSHAL IMMEDIATELY OUTSIDE THE
AFORESAID COURTROOM FOR EVALUATION AND SEARCH 15 MINUTES PRIOR TO APPEARANCE.


                                                  WILLIAM W. BLEVINS, CLERK
  DATE: November 8, 2019
                                                  by: Dedra D. Pongracz, Deputy Clerk
  TO: WESLEY T. BISHOP (SUMMONS)

                                                  AUSA Andre J. Lagarde
  COUNSEL FOR WESLEY TYRON
  BISHOP
                                                  FBI     Samira Marigny
  Harry Rosenberg
                                                  U.S. Marshal

                                                  U.S. Probation/Pretrial Services Unit



                                                  COURT REPORTER COORDINATOR:
                                                  INTERPRETER -NONE

  If you change address, notify
  Clerk of Court by phone,
  (504) 589-7747
